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IN THE UNITED sTATEs DISTRICT coURT
FoR THE WESTERN DISTRICT oF TENNESSE$S JUN 15 H h: 18
WESTERN DIvIsIoN

 

 

UNITED STATES OF AMERICA,
VS. NO. O3-20434-Ma
JENNIFER TUCKER,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND§E’_FLN_Q

 

This cause came to be heard on June 14, 2005, the United
States Attorney for this district, David Charles Henry, appearing
for the government and the defendant, Jennifer Tucker, appearing
in person and with counsel, Needum Louis Germany, III.

With leave of court, the defendant Withdrew the not guilty
plea heretofore entered and entered a plea of guilty to Count 3
of the Indictment.

Plea colloquy was held and the court accepted the guilty
plea.

SENTENCING in this case is SET for THURSDAY, SEPTEMBER 15,
2005, at 9:00 A.M., in Courtroom No. 2, on the 11th floor before
Judge Samuel H. Mays, Jr.

Defendant is allowed to remain released on the present bond.

/
ENTERED this ’°H` day of June, 2005.

M/l/M..,___.=_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
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Honorable Samuel Mays
US DISTRICT COURT

